Case 2:20-cv-04803-SDW-LDW Document 15 Filed 08/07/20 Page 1 of 1 PageID: 352




NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY



  E.O. et al.,                                                Civil Action No. 20-4803 (SDW) (LDW)

                         Plaintiffs,

                   v.                                         ORDER

  TEANECK BOARD OF EDUCATION, et al.,

                         Defendants.                          August 7, 2020


 WIGENTON, District Judge.
         This matter, having come before this Court on Defendant Teaneck Board of Education’s

 (“Defendant”) Motion to Dismiss Plaintiffs E.O. and D.O.’s Complaint filed on behalf of their

 daughter, E.O., for lack of subject matter jurisdiction and failure to state a claim pursuant to Federal

 Rules of Civil Procedure 12(b)(1) and 12(b)(6), and this Court having considered the parties’

 submissions, for the reasons stated in this Court’s Opinion dated August 7, 2020,

         IT IS on this 7th day of August, 2020

 ORDERED that Defendant’s Motion to Dismiss is DENIED.

                                                         /s/ Susan D. Wigenton
                                                         SUSAN D. WIGENTON, U.S.D.J.
 Orig:           Clerk
 cc:             Leda D. Wettre, U.S.M.J.
                 Parties
